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     The People of the State of Colorado, Petitioner  v.  Nathan Crawford Hollis. Respondent No. 23SC834Supreme Court of Colorado, En BancJuly 1, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 20CA1746
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari GRANTED
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      a law enforcement agency is entitled to restitution for
      unrecovered "buy money" under section
      18-1.3-602(3)(a) and (b), C.R.S. (2023), as was held in
      People v. Juanda, 303 P.3d 128 (Colo.App. 2012) and
      contrary to the court of appeals holding here.
    